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               Exhibit 12.1
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              Infringement Claim Chart for U.S. Pat. No. US9456086B1 v. Google (“Defendant”)


    Claim11                                              Evidence
11. A method for   The Google Customer Service system with intelligent routing performs a method of
matching a first   matching a first entity with a second entity.
entity with a
second entity,     For example, the Google Customer Service system matches an incoming call, which is
comprising:        the first entity, to a call center agent, which is the second entity.




                   Source: Contact Us | Google Cloud




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                    Source: Contact Center AI (CCAI) Platform | Google Cloud




                    Source: Google Cloud Blog

storing a           The Google Customer Service system with intelligent routing stores a plurality of
plurality of        multivalued scalar data representing inferential targeting parameters for the first entity.
multivalued
scalar data         For example, the Google Customer Service system uses one or more of: interactive voice
representing        response (IVR), keypad menus, caller identification and customer relationship
inferential         management (CRM) information to determine the nature of a call and thereby, the
targeting           required characteristics of a call center agent to handle the call. These required agent
parameters for      characteristics include one or more of skills and respective skill levels, the agent’s
the first entity;   location, prior call history with calls of the same nature. These required characteristics
                    are represented by CCAI platform which comprises a plurality of multivalued scalar data,




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which is stored and used by the customer service system, as inferential, or intelligent,
targeting parameters for routing the call to an appropriate call center agent.




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Source: Contact Center AI (CCAI) Platform | Google Cloud




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                   Source: Google Cloud Blog

storing a          The Google Customer Service system with intelligent routing stores a plurality of
plurality of       multivalued scalar data of each of the plurality of second entities, representing
multivalued        inferential targeting parameters for a plurality of second entities.
scalar data of
each of the        For example, the Google Customer Service system stores the respective characteristics
plurality of       of multiple call center agents. These agent characteristics include one or more of skills
second entities,   and respective skill levels, the agent’s location, and the agent’s prior history with
representing       handling calls of a specific nature. The agent characteristics are represented by a CCAI
inferential        platform comprising a plurality of multivalued scalar data and are used, by the Customer
targeting          Service system, as inferential targeting parameters for routing the call to an appropriate
parameters for a   call center agent.
plurality of
second entities;




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Source: Contact Center AI (CCAI) Platform | Google Cloud




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                      Source: Google Cloud Blog

performing            The Google Customer Service system with intelligent routing performs, using an
using an              automated processor and based on at least the stored plurality of multivalued scalar
automated             data, an economic optimization. The optimization seeks to maximize a normalized
processor,            economic surplus of a respective mutually exclusive match of the first entity with the
based on at           second entity, while at the same time considering an opportunity cost of the
least the stored      unavailability of the second entity as a result of the match.
plurality of
multivalue            For example, based on the required agent characteristics for handing the call and the
scalar data, an       respective characteristics of multiple call center agents, the Google Customer Service
economic              system selects an appropriate agent for handling the call. This selection is made by
optimization          making, for each of the multiple agents, a cost-benefit analysis of a prospective
seeking to            matching of the call with the particular agent. The cost-benefit for the prospective match
maximize a            is based, at least in part, on the required agent characteristics and the characteristics of
normalized            the particular agent. This prospective match is mutually exclusive in the sense that the
economic              call is only assigned to the particular agent and the agent to this particular call for the
surplus of a          duration of the call. Therefore, the cost-benefit analysis also accounts for the fact that
respective            the agent cannot handle other calls while handling this call. The agent associated with
mutually              the prospective match that has the maximum benefit while considering the costs, which
exclusive match       is the so-called normalized economic surplus, is selected by the Customer Service
of the first entity   system to handle the call.
with the second
entity, in
conjunction with
an opportunity
cost of the
unavailability of
the second
entity as a result




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of the match;
and




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                Source: Google Cloud Blog

Outputting a    The Google Customer Service system with intelligent routing outputs a signal in
signal in       dependence on the optimization.
dependence on
the             For example, the Google Customer Service system generates and outputs a signal for
optimization.   connecting the call with the matched agent, whereby the exact nature of the signal
                depends on the matched agent, so as to connect that agent to the call.




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Source: Contact Us | Google Cloud




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